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THE
q ( Stephen S. Kreller

LAW FIRM
June 25, 2012

Hon. Loretta G. Whyte, Clerk of Court
U.S. District Court for the

Eastern District of Louisiana

500 Poydras Street, Room C151

New Orleans, Louisiana 70130

Re: Thanh Hai, Inc., et al. v. BP American Production Company, et al.
U.S.D.C. for E.D. of LA, Case No. 2:11-cv-03180

Dear Hon. Whyte:

I am writing to respectfully request that summons on the Complaint for Intervention
be issued to the following defendants:

1. RAYMOND STEVEN VATH
8828 Westgate Street
Metairie, Louisiana 70003

2. REBECCA WINKLER VATH
8828 Westgate Street
Metairie, Louisiana 70003

3. BRIAN WINKLER
8828 Westgate Street
Metairie, Louisiana 70003

If you have any questions and/or need additional information, please do not
hesitate to contact me at (504) 484-3488.

With kindest regards, I am

Attachments

4224 Canal Street / New Orleans. LA 70119 / 504 484 3488

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